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                    IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

WILLIAM ELLIS,                                   ) CASE NO.: 1:22-CV-00815-SO
                                                 )
                       Plaintiff,                ) JUDGE SOLOMON OLIVER, JR.
                                                 )
vs.                                              )
                                                 )
DET. JEFFREY YASENCHACK, et al.,                 )
                                                 )
                       Defendants.               )
                                                 )




        DEFENDANT DET. JEFFREY YASENCHACK’S MEMORANDUM IN
            OPPOSITION TO MOTION TO STRIKE DECLARATION


         Defendant Det. Jeffrey Yasenchack, pursuant to Rule 56(c) of the Federal Rules

of Civil Procedure and Local Rule 7.1, respectfully requests that this Honorable Court

deny Plaintiff William Ellis’ (“Plaintiff’s”) Motion to Strike the Affidavit of Mitchell

Sheehan (Doc. 32, PageID #580-583). The evidence is admissible and meets the

requirements of the Rules.

I.       LEGAL STANDARD

         “A party may object that the material cited to support or dispute a fact cannot be

presented in a form that would be admissible in evidence.” Fed.R.Civ.P.56(c)(2).

“Generally, a district court should dispose of motions that affect the record on summary

judgment before ruling on the parties’ summary judgment motions.” Brainard v. Am.

Skandia Life Assur. Corp., 432 F.3d 655, 667 (6th Cir. 2005), cited by Goodwin v.

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American Marine Express, Inc., Case No. 1:18-cv-01014, 2021 WL 848948, *8 (N.D.

Ohio Mar. 5, 2021).

II.      LAW AND ARGUMENT

      A. The statements contained in Sgt. Sheehan’s declaration are admissible.

         Plaintiff argues that the declaration contains hearsay (PageID #581). The

statements contained in the declaration are not hearsay.

         Hearsay is a statement of a declarant while not testifying at the current trial or

hearing offered into evidence to prove the truth of the matter asserted in the statement.

Fed.R.Evid. 801(c)(1)-(2). A statement offered for a purpose other than the truth of the

matter asserted, such as the affect on the listener is not hearsay by definition. United

States v. Pugh, 273 Fed. Appx. 449, 456 (6th Cir. 2008) (statement was not hearsay, and

the district court did not err in admitting it, “because the statement was not offered to

prove the truth of the matter asserted, but instead to demonstrate the affect on [the

detective] and to explain his steps in the investigation…”). See also United States v.

Reynolds, 684 Fed. Appx. 510, 514-515 (6th Cir. 2017) (statement was not used for its

truth but rather as information to explain how and why law enforcement was

investigating defendant). Evidence is relevant if it has any tendency to prove or disprove

a fact of consequence in the proceeding. Fed.R.Evid. 401.

         In this case, Radovanic admitted “he told Detective Yasenchack that he had

obtained drugs from Ellis before.” (Doc. 25-2, PageID #414-415). He admitted, “the day

Yasenchack stopped him he told Yasenchack that he got drugs from Ellis.” Id. The

statements are not proffered to demonstrate whether Radovanic actually obtained drugs

from Ellis before or on the day that Det. Yasenchack stopped Radovanic, i.e. the truth of

the statements. The statements demonstrate there is additional indicia of probable cause
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for law enforcement that Plaintiff committed or was about to commit a crime before the

United States filed charges against him, i.e. their state of mind. The statements are also

relevant to show that officers reasonably relied on information communicated to them.

The statements are relevant for the qualified immunity analysis for Det. Yasenchack as to

whether any alleged error is a mistake of law, a mistake of fact, or a mistake based on

both.

        In addition, Plaintiff argues the declaration is inadmissible because it “directly

contradicts Mr. Radovanic’s prior sworn testimony.” (PageID #581). He argues that

Radovanic “testified at a federal suppression hearing that he did not tell Det. Yasenchack

that he had obtained drugs from Plaintiff…” Id. This illuminates an additional reason

why there is a hearsay exception due to declarant’s unavailability even if the Court were

to consider these statements for the truth of the matter asserted.

        A statement that “a reasonable person in the declarant’s position would have

made only if the person believed it to be true because, when made, it was so contrary to

the declarant’s proprietary or pecuniary interest or had so great a tendency…to expose

the declarant to civil or criminal liability…” is an exception to the hearsay rule when the

declarant is unavailable for that proceeding. Fed.R.Evid. 804(b)(3)(A). Subsection (B)

requires that the statement “is supported by corroborating circumstances that clearly

indicate its trustworthiness” if it is offered in a criminal case. Fed.R.Evid. 804(b)(3)(A).

The statement could have subjected Radovanic to criminal charges for possession of

narcotics or perjury at the time that he made it. Similarly, the information within the

statement was corroborated by other evidence because the Fentanyl obtained from

Radovanic was the same chemical compound as that obtained from Plaintiff’s home



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(Doc. 25-3, PageID #416-422). See also Fed.R.Evid. 807(a)(1)-(2) (statement is more

probative on the point for which it is offered than any other evidence that the proponent

can obtain through reasonable efforts).

        Finally, Plaintiff argues Det. Yasenchack “does not supply the recording in

support of the Sheehan declaration…” (PageID #581). An original is not required and

other evidence of the content of a recording is admissible when the party against whom it

is offered has the duplicate and fails to produce it, or the recording is not closely related

to a controlling issue. Fed.R.Evid. 1004(c)-(d). Plaintiff was free to introduce any other

part or the entirety of Radovanic’s recorded statements to Sgt. Sheehan. Fed.R.Evid. 106.

He could have introduced the recording or the report created by Sgt. Sheehan relating to

the conversation. He chose not to do so. Therefore, the statements made by Radovanic to

Sgt. Sheehan are admissible in this case.

    B. The case law cited by Plaintiff is completely inapposite to the issues for this
       case.

        Plaintiff cites Aerel, S.R.L. v. PCC Airfoils, LLC, for the proposition that the

Court may ignore a post-deposition declaration that directly contradicts evidence in the

record. Id., 448 F.3d 899 (6th Cir. 2006). The main point of that Sixth Circuit opinion is

that “a party should not be able to create a disputed issue of material fact where earlier

testimony on that issue by the same party indicates that no such dispute exists.” Id., 448

F.3d at 907. The Court emphasized that the rule is intended to bar “the nonmoving party

from avoiding summary judgment by simply filing an affidavit that directly contradicts

that party’s previous testimony.” Id. “This is a far cry” from preventing one who was not

directly questioned in a case from presenting information. Id. Mr. Radovanic did not

testify at a deposition in this action.


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        Plaintiff implies there is some form of preclusive effect as to Det. Yasenchack

because “this Court previously relied upon Mr. Radovanic’s testimony to find that the

‘search warrant affidavit’ now at issue in this civil case ‘lack[ed] probable cause.”

(PageID #581). First, the search warrant is not at issue in this case because Plaintiff did

not bring a claim for an illegal search. The main issues are whether there was probable

cause for Plaintiff’s arrest and probable cause to continue the prosecution.

        Secondly, the fact that evidence may be suppressed as the result of alleged

misconduct, does not make it any less relevant to establishing probable cause for the

arrest “because the exclusionary rule does not apply in a civil suit under § 1983 against

police officers.” Martin v. Marinez, 934 F.3d 594, 599 (7th Cir. 2019); Lingo v. City of

Salem, 832 F.3d 953, 958-959 (9th Cir. 2016). Although Plaintiff does not challenge this

case law, the basis of the argument is that this Court should not consider any evidence

obtained in a subsequent civil case because a court ultimately suppressed it in a criminal

case.

        Lastly, the species of res judicata known as collateral estoppel or claim

preclusion based on any finding in Plaintiff’s federal criminal case does not apply to Det.

Yasenchack in this civil case. Burda Bros. Inc. v. Walsh , 22 Fed. Appx. 423, 430 (6th

Cir. 2001). The Sixth Circuit reiterated several times that it “rejected an attempt to use

collateral estoppel offensively against a defendant officer in a § 1983 action because the

officer was not party to or in privity with a party to the earlier action.” Id. (citations

omitted). Because the defendant in that subsequent civil case “did not have a personal

stake in the outcome of the earlier proceeding, plaintiffs may not use collateral estoppel

offensively to preclude relitigation of the validity of the search warrant…” Id.



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         There is no prior testimony in this action from Radovanic. Sgt. Sheehan did not

provide any testimony that was at odds with prior testimony given in this matter. In fact,

Plaintiff did not support his opposition to summary judgment with any testimony other

than Det. Yasenchack’s deposition testimony. Sgt. Sheehan’s declaration is consistent

with Det. Yasenchack’s deposition testimony given in this matter (Yasenchack Dep. 70:5-

9).

         Therefore, the legal authority cited by Plaintiff does not lead to the conclusion

that the declaration at issue should not be considered by this Court.

III.     CONCLUSION

         Therefore, Plaintiff’s Motion to Strike should be denied. This Honorable Court

should consider Sgt. Sheehan’s declaration in determining Det. Yasenchack’s Motion for

Summary Judgment.

                                              Respectfully submitted,


                                      By:     /s/ J.R. Russell
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                           LOCAL RULE CERTIFICATION


       This case is currently assigned to the standard track. The Memorandum relating to
the non-dispositive motion conforms to the page limitations as set by Local Rule 7.1.

                                                     /s/ J.R. Russell
                                                     James R. Russell, Jr. (0075499)


                             CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing document was filed
electronically on the 30st day of October, 2023. Notice of this filing will be sent to all
parties by operation of the Court’s electronic filing system. Parties may access this filing
through the Court’s system.



                                                     /s/ J.R. Russell.
                                                     James R. Russell, Jr. (0075499)




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